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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA, ex rel.
 JULIET MBABAZI and KHALDOUN                           Case No.: 2:19-cv-02192-NIQA
 CHERDOUD,

               Plaintiffs/Relators,

        v.

 WALGREEN CO.

                   Defendant.


                              STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Relators Juliet Mbabazi and
Khaldoun Cherdoud and Defendant Walgreen Co. stipulate that any and all claims asserted by
Relator against Walgreen Co. shall be dismissed WITH PREJUDICE as to Relators and
WITHOUT PREJUDICE as to the United States of America.

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